      Case 1:25-cv-00401-RCL       Document 21     Filed 02/21/25   Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

JANE JONES,
                     Plaintiff,


v.                                                  Civil Action No. 25-401-RCL


DONALD TRUMP, in his official capacity as            PLAINTIFF’S EMERGENCY
President of the United States; JAMES R.          APPLICATION FOR A TEMPORARY
MCHENRY III, in his official capacity as Acting      RESTRAINING ORDER AND
Attorney General of the United States; WILLIAM      PRELIMINARY INJUNCTION
LOTHROP, in his official capacity as Acting
Director of the Federal Bureau of Prisons;
                     Defendants.


Jennifer L. Levi**                         Jennifer Fiorica Delgado (Bar No. NY296)
Bennett H. Klein*                          Alexander Shalom**
Sarah Austin*                              Natalie J. Kraner**
GLBTQ LEGAL ADVOCATES                      Wayne Fang*
& DEFENDERS                                Markiana Julceus*
18 Tremont, Suite 950                      LOWENSTEIN SANDLER LLP
Boston, MA 02108                           1251 Avenue of the Americas
                                           New York, NY 10020
Christopher F. Stoll*
Amy Whelan*
NATIONAL CENTER FOR
LESBIAN RIGHTS
870 Market Street, Suite 370
San Francisco, CA 94102

Pro Bono Counsel for Plaintiffs
* Pro Hac Vice Pending
** Admission Forthcoming
        Case 1:25-cv-00401-RCL           Document 21        Filed 02/21/25       Page 2 of 3




       On Monday, February 24, 2025, or as soon as counsel may be heard, the undersigned

attorneys for Plaintiff Jane Jones (“Plaintiff”), pursuant to Fed. R. Civ. P. 65 and L. Civ. R. 65.1(a)

and (c), shall move before the United States District Court for the District of Columbia, at 333

Constitution Avenue N.W., Washington, D.C. 20001, for a temporary restraining order and

preliminary injunction on an emergency basis to enjoin Defendants from enforcing Sections 4(a)

and 4(c) of Executive Order 14168 titled “Defending Women from Gender Ideology Extremism

and Restoring Biological Truth to the Federal Government” and to maintain her housing and

medical treatment consistent with the status quo before January 20, 2025 .

       In support of her motion, Plaintiff shall rely upon the attached brief, declaration of Jane

Jones, declaration of Jennifer Fiorica Delgado, and declaration of Lauren Meade, M.D. A proposed

form of order is attached.

       On Friday, February 21, 2025 at approximately 1:15 p.m., the undersigned provided actual

notice of the time of making the enclosed application, and copies of all pleadings and papers filed

in the action to date or to be presented to the Court at the hearing, to Defendants, via email

transmitted to their counsel, John J. Robinson, Esq.

       WHEREFORE, Plaintiff respectfully requests that the Court enter a temporary restraining

order and preliminary injunction prohibiting Defendants and their officers, employees, servants,

agents, appointees, and successors from enforcing Sections 4(a) and 4(c ) of Executive Order

14168, and requiring Defendants to maintain her housing and medical treatment consistent with

the status quo before January 20, 2025.




                                                  2
      Case 1:25-cv-00401-RCL   Document 21    Filed 02/21/25       Page 3 of 3




                                         Respectfully submitted,

Dated: February 21, 2025                 /s/ Jennifer Fiorica Delgado
                                         Jennifer Fiorica Delgado (Bar No. NY296)
                                         Alexander Shalom (admission forthcoming)
                                         Natalie Kraner (admission forthcoming)
                                         Wayne Fang (pro hac vice pending)
                                         Markiana J. Julceus (pro hac vice pending)
                                         LOWENSTEIN SANDLER LLP
                                         1251 Avenue of the Americas
                                         New York, NY 10020
                                         (862) 926-2029
                                         (973) 422-6722
                                         jdelgado@lowenstein.com
                                         ashalom@lowenstein.com
                                         nkraner@lowenstein.com
                                         wfang@lowenstein.com
                                         mjulceus@lowenstein.com

                                         Jennifer L. Levi (admission forthcoming)
                                         Sarah Austin (pro hac vice pending)
                                         GLBTQ LEGAL ADVOCATES &
                                         DEFENDERS
                                         18 Tremont Street, Suite 950
                                         Boston, MA 02108
                                         (617) 426-1350

                                         Christopher F. Stoll (pro hac vice pending)
                                         Amy Whelan, Esq. (pro hac vice pending)
                                         NATIONAL CENTER FOR LESBIAN
                                         RIGHTS
                                         870 Market Street, Suite 370
                                         San Francisco, CA 94102
                                         (415) 365-1320
                                         cstoll@nclrights.org
                                         awhelan@nclrights.org




                                     3
